Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 1 of 25

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state board exam. The basic curriculum is well organized with standard American
and English medical texts. The patient base, clinical and hospital facilities are
adequate for the size of the student body.

University Medical School of Debrecen, Debrecen

Debrecen has one of the oldest Universities in Hungary. It is the second largest city
in Hungary but located in a geographically stunning area characterized by a
national park and old spas with thermal baths. The English language program
opened 12 years ago but adheres more to traditional European educational
standards. There is a required entrance exam for all students and the curriculum
for students in the English language program is almost identical to that of the six
year regular program. Foreign students may receive advanced standing of one
year with sufficient premedical preparation. Hungarian is a difficult language to
master and taught to all students. It is clear that language proficiency is expected
by the time the student reaches clerkships. There is a social service internship year
that follows the graduation from medical studies. Graduates of Hungarian medical
program must write a thesis and pass a state board exam.

Semmelweis University, Budapest

Semmelweis has the advantage of being located in Budapest, one of the larger
historic capitals of Eastern Europe with easy access to Austria and Germany. It is a
large University and medical school located in the historic area of the city. The
English language program, which is about seven years old, was found by the
evaluators to be quite small and disorganized in terms of a curriculum and
schedule. No one could tell us exactly how many Americans were enrolled or
where to find them. We did meet Scandinavian and German students who stated
there were few Americans in the program. It is a fully functional medical school but
the English language program is lacking in organization and facilities. The hospitals
and patient base are more than sufficient to provide challenging clinical
experiences.

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Medical University of Gdansk:

The English language program is attended primarily by Western European
students. There are approximately 10 Americans according to the U.S. recruitment
office. Gdansk does not yet qualify for FFEL loans but has applied. A private
recruitment organization in the U.S. charges a $5,000 placement fee.

Carol Davila, Bucharest, Romania
Despite email requests, AAIMG did not received sufficient information about the
English language program to merit a visit at this time.

Medical Academy of Latvia, Riga Stradins University, Riga Latvia:
New Program, little information available at this time.

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GORCLUSION

Eastern European medical programs provide a viable alternative for young
Americans unable to gain acceptance into U.S. medical schools. A majority of the
programs are cost effective and train competent physicians. The problems
encountered by Americans studying in Eastern Europe have little to do with the
quality of medical school or differences in curriculum. Personal traits involving
motivation, adaptability and willingness to learn a foreign language is the key to
successful completion of a medical education in any foreign country.

AAIMG’S WORDS OF WISDOM TO PROSPECTIVE
BRN EUROPEAN APPLICANT:

     

e Be skeptical of information you receive from stateside recruiters, especially
programs marketed by private placement organizations that charge high
fees. Be wary of any program that minimizes the importance of learning the
native language.

e All serious applicants should travel to Eastern Europe to visit medical
schools in the final selection pool. A personal visit allows the applicant to
speak with faculty, other students in the program and evaluate the facilities. It
is money well spent and will avoid later problems.

e Apply directly to the medical school and avoid paying high fees to placement
agencies. Eastern European medical schools using placement agencies
have ample "seats" for qualified students. Applicants would be better off
using the funds to take a vacation to Europe to evaluate the programs and
apply directly.

« Expect to attain fluency in the native language for maximum adjustment and
to maximize learning in clerkships. Communication is the key to the
physician-patient relationship. It is difficulty to treat patients properly if you
totally rely on an interpreter.

« Make sure that the curriculum and facilities available to students in the
English language program are comparable to those allocated for local
students.

e Avoid living in dorms or housing with segregated housing for English
language program students. Living with a local family or having a roommate
who speaks the native language will accelerate your language skills
significantly.

e Absolutely avoid programs that promise advanced standing, especially for
chiropractors, podiatrists or other allied health care professionals. AAIMG
has received complaints from chiropractors who enrolled in a program in the
former Soviet Union and lost a great deal of money. This program is no
longer in existence.

e Take advantage of the proximity of Eastern Europe to other countries and
use vacation time to explore and enrich your cultural knowledge base. A
friendly, considerate manner will overcome many obstacles along the way.

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Vecical Schools in the Caribbean Fasin

We are pleased to release a preliminary report
of our first set of evaluations of medical schools
located in the Caribbean Basin. Our evaluation
teams visited a total of 14 medical schools on
various islands. In this region, six medical
schools were identified as meeting or exceeding
75 % of stated criteria in all evaluation
categories. In presenting the names on the list
below, AAIMG does not endorse any single
school or program. The following list identifies
medical school programs in a variety of locations that have met the minimum
2 evaluation criteria of this organization.

   

e Medical schools meeting or exceeding AAIMG evaluation criteria in the
Caribbean basin

Voc corel Schools in Mexico and Cantral America

We are pleased to release a report of evaluations of medical schools with English
language programs or programs that accepts students from the United States. The
Federal Government of Mexico has done an exemplary job in regulating medical
school education in that country. Governments in Central America vary in their
regulation of post secondary and professional education.

 

e Medical schools meeting or exceeding AAIMG evaluation criteria in Mexico
and Central America

Provisional

 

This category covers new medical schools that meet the 75% AAIMG evaluation
criteria relative to the school's level of development. AAIMG will monitor the this
school's application for review by the California Medical Board as well as the
ramifications of a U.S. campus opened in the state of Maine.

e St. Matthew's University School of Medicine
Belize, Central America

 

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1. Itis significantly more difficult to be
accepted into medical schoo! today than
10 years ago. MCAT scores and grade
point requirements are higher. Thousands
of talented, well- qualified, individuals
therefore are denied admission each
year.

 

 

: 2. Failure to gain admission to a US.
medical school should not be interpreted as a sign of failure. If you have the
motivation, there are acceptable programs abroad.

3. You do not have to be gifted in a foreign language to study abroad. Many
international schools have English language programs or are located in
English speaking countries.

 

4. Over 25% of all practicing physicians in the United States are International
: Medical Graduates. U.S. citizens who train abroad are now a significant part
of the IMG physician population.

5. There are roughly 15,000 U.S. graduates a year and approximately 21,500
postgraduate residency positions available. The number of residency
programs has increased every year for the past 30 years. International
Medical Graduates are needed to fill these surplus residencies.

6. The highest concentrations of IMG's are in the specialties of Internal
Medicine, Psychiatry, Anesthesiology and Primary Care.

 

7. Over the past decade IMG's with high USMLE scores from reputable foreign
programs have been able to obtain residencies in more competitive areas
such as Surgery, Radiology and Obstetrics and Gynecology.

8. All medical students now take one exam called the United States Medical
Licensure Exam series (USMLE). There are two additional exams for IMG's:
The Clinical Skills Assessment exam (CSA) and a language proficiency
exam, the TOEFL.

Q. The passing rate for American and Canadian International Medical
Graduates on the Clinical Skills Assessment Exam exceeds that of other

foreign trained physicians.

10. Today, there is far more scrutiny of U.S. citizens studying medicine abroad

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by state licensing boards than existed 10 years ago. It is therefore important
to study at an established, stable school that will keep permanent records.

Residency Training Programs, however, appear to be more receptive to U.S.
citizen IMG's than they were 10 years ago. A United States Citizen does not
need a special visa. Furthermore, because most American IMG's have done
clerkship rotations in U.S. hospitals, they often integrate quickly and with
fewer difficulties into training programs.

After passing the USMLE Step | & Il, the CSA and TOEFL exams, IMG's are
eligible to participate in the National Residency Matching Program. Unlike
U.S. medical students, IMG's are free agents and may sign residency
training contracts with programs outside of the MATCH.

There is no doctor glut in the United States. There is a significant mal-
distribution of physicians with high concentrations in urban areas and a
severe shortage of qualified physicians in rural locations.

Despite recent publicity, a majority of U.S. residency training programs are
not decreasing training positions. An increase in Primary Care postgraduate
programs balances cut backs in specialty areas. Physicians are retiring or
decreasing practice at an earlier age than anticipated. This accounts for the
current shortage of Anesthesiologists, for example.

For several years, there has been discussion in Congress of limiting
Medicare funding to residency training programs accepting IMG's. Although it
is a remote possibility, such action should not affect foreign trained U.S.
citizens who are permanent residents and tax payers.

In 1999, the AMA declared that there are now sufficient Primary Care
physicians. Future residents, including IMG's, can feel free to apply for more
competitive specialties.

Patients are more concerned with the quality of care physician's provice that
where you attended medical school. A combination of knowledge, skill and
genuine concern are what count.

Today there are excellent options for study abroad in a variety of countries.
World Health Organization (WHO) listing alone does not, however,
guarantee a quality education. A medical school, particularly if it was
established within the last 10 years, should be thoroughly investigated before
a student attends. Read the Words of Wisdom Section of the web page.

 

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AATGSS WORDS OF WISDOM TO PROSPECTIVE
INTERNAT TON AL MEDICAL SCHOOL APPLICANTS

  

The Following Words of Wisdom
Are the Best Advice You Will Ever Receive.
Read Each Item Carefully Before You Study Abroad

 

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1.

The first word of wisdom is that you can
receive an excellent education abroad
and a competitive residency in the
United States. You must first do your
homework and study only ata
reputable school with rigorous
academic standards.

 

More medical schools in the Caribbean, Mexico and Central America have
failed than have succeeded. Study only at established schools and be highly
skeptical of newly established schools. If this information is not included in
the catalog, ask each school for the following:

a. The USMLE Step | and Step II passing rates

b. A complete list of all training hospitals and their locations

c. A list of graduates and their residency placements

cd. The names and credentials of all full-time faculty members.

e. Proof of listing with the World Health Organization

Follow the same procedure for established European Medical Schools with
English language programs. Make sure you have the same access to faculty,
library and lab facilities as local students in the regular program. Be prepared
to attain language fluency before you begin third and fourth year clerkships.

Do not believe what you read in a flashy catalog or on an internet site. Avoid
any school where recruiters engage in pressure tactics or make personal
concessions for you. Visit the admission office and basic science campus of
each school in your final selection pool. Attend lectures and interview several
current students.

During a personal visit, look for signs of adequate staffing and permanency.
Evaluate the faculty credentials and make sure the teaching staff is full-time
and in residence. Avoid schools that hire local MD practitioners on a part-
time basis to teach basic science courses normally taught by Ph.D. level
faculty (physiology, biochemistry, microbiology etc.)

Carefully evaluate the integrity of the library, laboratories and classroom
facilities. Many of the newer medical schools rent space in local hotels.

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converted garages, or private homes. Look for a permanent, fully functioning
campus and remember that a school that rents a few classrcoms has little
incentive to remain open during hard times.

Be very wary of any schoo! that will allow you to complete part of your basic
science studies in the United States or England. To avoid future licensing
problems, your entire basic science curriculum should be completed in the
country listed by the World Health Organization.

Be equally wary of schools that have substandard basic science campuses
and guarantee clerkship rotations in the United States. Many of the newly
established schools with poor to non-existent basic science campuses use
this tactic to attract new students. This is a tried and true con game that
could be very costly in terms of money and wasted time.

Go only to schools where the duration of the Doctor of Medicine program is
at least 38 months and demand that you have full-time attendance at the
campus. Beware of programs that require that you be present only 6-8
weeks or place you on directed study back in the United States.

If you are unable to make a personal visit, interview several current students
and graduates before you make a choice. Do not go to schools that refuse to
give you a list of clinical training hospital sites or do not list the clinical sites in
the catalog.

Look for medical schools with external loan programs. A school with Stafford,
FFEL, TERI, or !| HELP loans has a source of oversight and regulation if it is
receiving funding from one of these groups.

 

Click here for more Words of Wisdom

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AAIMG is pleased to release the results of site visits that
were conducted during 2003. The first site visits to foreign
medical schools were made in 1999 and focused on the so
called “off shore” programs. The report was revised again
in 2001 and included new materia! about rapidly growing
Eastern European programs. The proliferation of medical
school programs catering to North Americans requires
continued vigilance on the part of any applicant.

 

 

international Medical Graduates continue to make
important contributions to the U.S. health care system.
Residency training programs remain in surplus and the
outlook is favorable for well trained IMG’s who pass the
difficult USMLE examinations and possess a solid clinical
skill base. Post 9/11 visa requirements are more stringent,
as are rules about registration and travel across
international borders. Therefore, the U.S. citizen who has

a8 studied abroad is attractive as a potential resident to

Se training directors.

 

Nevertheless, there are still hurdles, particularly in the area
of medical licensure. The trend in many states is to
demand more detailed documentation from international
medical graduates. In 1986, a significant number of
programs in the Dominican Republic and Mexico were
investigated and eventually closed due to poor standards
and unsavory practices such as selling medical degrees.
Unfortunately, a parallel process started in the late 1990's
with the rapid growth of so many new medical schools in
the Caribbean, Central America and in the Pacific.

 

Each week AAIMG receives hundreds of emails and
ietters. We remain committed now, as in the past, to
answering all serious inquiries in a timely manner.

Thomas Moore, MD
President, AAIMG

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1802 North Carson Street
Suite 212-2161
Carson City, Nevada 89701 USA

SAE)
Thomas Moore N.D.
e-mail: presaaimg@hotmail.com

 

SK EOU TEE

Sarah B. Weinstein
e-mail: execsecaaimg@hotmail.com

 

 

 

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Applying ue

The following pages contain key information on the application
etable, the application, anad financing a medical education.
There is also information on alternate routes.

 

   

 

     
     

  

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AAIMG recognizes that thousands of highly qualified WS.
ctzens are denied admission to medical school each year and
must study abroad. Current medical schoo! admission

ndards in the United States overemphasize the importance
of standardized tests and grade point average.

 

 

  

  

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Registered User
100+ Posts

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lol... Luck, before you get flamed by many others, I'm going to
let you in on a little secret.

Isn?t it strange that there is no information on the President:
?Thomas Moore, MD? who looks like he came out of an issue of
GQ Magazine. Thomas Moore is an extremely generic name.
Could it have been chosen because of its commonality??

Let me tell you about a company started and run from
someone's apartment in Russia..

Let me tell you about a company in Russia that has tried to
blackmail Caribbean schools for money or threaten them with
negative ratings..

And what if I told you that this company is not taken seriously
by any US licensing boards...

But wait, there is more: Anyone who has really researched the
issue of a Caribbean education knows this. People who don't are |
either brand new or ignorant.

So, before giving advice, please research your stuff. Right now,
the only definitive measure of a Caribbean medical education is
a state licensing board.

Luck, you just got "punk'd" by AAIMG !!

PS I can't rag on you to hard about this one because I fell for it
two years ago. I just didn?t give anyone advice at that time.

©

Minority medical students forum -->
http://www.minoritymedstudents.com

5/24/2005 2:38 PM
Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 17 of 25

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Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 18 of 25

 

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Jump to: Select.., ~

 

 

School Aiumni Carson Homes Realty Executives Find Alumni & Friends

  

Sect nist
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y open! T-Shirts, Hoodies, Mugs, and More!

 

  
  

User Name User Name 4 Sorneryiye

 

 

AAIMG- (American Association of Le
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Register FAQ Members List Calendar

 

Thread Terie Pilertnar Madar
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AAIMG- ‘American Association of International Medical
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« Self established fraud organization

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* For Students: Big fraud organization, look for yourself, call if
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Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 19 of 25

 

   

 
 

 

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htte://www. aaimg.com/------- LOOK AT THIS WEB SIT
PROFILE AND OPERATING ADDRESS, OPERATING FROM RUSSIA

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Disclaimer: COO Nautilus disclaims any respensibility for the
content of this websile provided by AAIMG

The American Association of International Medical Grad.
r reafter referred to as AAIMG, was founded in :992 aS
profit. organization to promote acceptance af United
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wneri¢ can medical practice.-----~- Please go into Regist: ¥

 

   
  

 

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information on tnis fraud

rhomas Moare, President
-There is no body by that name with no adaress and

phone numbe r. Nevada Attorney General is investigating

 

 

wiebseat < ASSOCIATION CF INTERNATIONAL
MEDICAL GRADUATES

1802 North Carson Street

Sulte 212-2161

Carson City, Nevada 89701 USA ~------+---- There is no physical
address, call post office and find out. Write a letter to this

address and see for yourself if it is delivered. Fraud address,
operati ig from Russia

 

       
 

PRESIDENT:
Thomas Mocre mM. D.
e-mail: pres mail, COM ner OOK AT THE MOTMAIL
MAILS GO YO
RUSSIA WH ERE THEY EX’ TRACT MONEY FROM SCHOOLS AND

STUDENTS

M.D. EXECUTIVE SECRETARY:

Sarah B. Weinstein

e-mail: execsecaaimg@ Ma LOOK AT THE

HOTMAIL ADDRESS, THIS IS A BIG TIME FRAUD ALL EMAILS GO

Le RUSSIA WHERE THEY EXTRACT MONEY FROM SCHOOLS AND
UDENTS

   

 

Guys this was a ict of research for me, Hope | Savec same
students and schools money---Good Luck

22005 2:88 PM
Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 20 of 25

 

fy AOS8 (Rev 1 94) Subpoena ina Civil Case ————
Issued by the
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

 

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE
V.

ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES.

INC.. a Nevada corpora‘ion: THOMAS MOORE, M.D. a.k.a. “presaaime@ hotmail.

com.” an individual: SARAH B. WEINSTEIN a.k.a. “exeesecaaimgie, hotmail.com.”

an individual: and RACHAEL E. SILVER, an tndividual,

Case Number:

United States District Court,

TO: , . Lo Lo.
Nausoft, LLC District of Nevada, Southern Division
2821 N. Ballas Road, Ste. 255

St. Ann, MO 63144

CO) YOU ARE COMMANDED to appear in the United States District court at the place, datc, and time specified below
testify in the above case.

 

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

[1 YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case.

 

PLACE OF DEPOSITION DATE AND TIME

 

 

[X YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date, and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify all

individuals and businesses associated with above listed Defendants, to include all contact information, billing information, credit card

numbers associated with the AAIMG website and the services you performed for AAIMG.COM.

 

PLACE KRONENBERGER & ASSOCIATES, DATE AND TIME
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005

 

1 YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

PREMISES DATE AND TIME

 

 

Anv organization nat a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

 

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
Karl S. Kronenberger
KRONENBERGER & ASSOCIATES,
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 Tel: 415-955-1155

(See Rule 45. Federal Rules of Civil Procedure, Parts C & D on next page)

' If action is pending in district other than district of issuance. state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 21 of 25

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AOS8& (Rey, 194) Subpoena in a Civil Case

 

PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 22 of 25

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9 AOS88 (Rev 1:94) Subpoena ina Civil Case

 

Issued by the

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

 

 

Sc. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE
Vv.

ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,

INC., a Nevada corporacion, THOMAS MOORE, M_D. a.k.a. “‘presaaimg@hotmail.

2om,” an individual; SARAH B. WEINSTEIN a.k.a. “execsecaaimg@hotmail.com.”

an individual: and RACHAEL E. SILVER, an individual.

TO:

Case Number:’

EVERYONES INTERNET
2600 SOLTHWEST FWY STE 500
HOUSTON TX 77098-4699

[1 YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

 

PLACE OF TESTIMOR Y COURTROOM

 

DATE AND TIME

 

1 YOU ARE COMMANDED to appear at the place, date. and time specified below to testify at the taking of a deposition
in the above case.

 

PLACE OF DEPOSITION DATE AND TIME

 

 

(X YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date, and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify all
individuals and businesses associated with the ownership and operation of the website AAIMG.COM, to include all account user
data, origination information, and contact and payment source information.

 

PLACE KRONENBERGER & ASSOCIATES, DATE AND TIME .
220 Montgomery Street. Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005

 

[] YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

PREMISES DATE AND TIME

 

 

Any organizaticn not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

 

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

 

(See Rule 45, Federal Rules of Civil Proveaure. Parts C & D on next page)

Ifaction is pending in district other than district of issuance, state district under ease number.
Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 23 of 25

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AO8S (Rev, 194) Subpoena ina Civil Case

 

PROOF OF SERVICE
DATE PLACE
SERVED

SERVED ON (PRINT NAME} MANNER OF SERVICE

 

SERVED BY (PRINT SAME) TITLE

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service 1s true and correct.

 

Executed on

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 24 of 25

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2 AOSK (Rey 194) Subpoena ina Civil Case _

Issued by the

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

 

 

St. Matthew's University (Cayman) LTD., a Cayman Islands company, SUBPOENA IN A CIVIL CASE
V.
ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES,

INC., a Nevada corporacion: THOMAS MOORE, M.D. a.k.a. “presaaimg@é hotmail. Case Number:!

com,” an individual; SARAIL B. WEINSTEIN a.k.a. “execsecaaimgi@ hotmail.com,”
an individual: and RACHAEL E. SILVER, an individual, United States District Court
S , , 5
TO: Microsoft Corporation District of Nevada, Southern Division

One Microsoft Way
Redmond, WA 98052-6399

[1] YOU ARE COMMANDED to appear in the United States District court at the place, date, and time specified below
testify in the above case.

 

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

1 YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition
in the above case.

 

PLACE OF DEPOSITION DATE AND TIMF

 

 

(IX YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
place. date, and time specified below (list documents or objects):

You are hereby authorized and ordered to expeditiously disclose, to the above named Plaintiffs, information sufficient to identify the

individuals who own and control the Hotmail email addresses "presaaimg@hounail.com” and "execsecaaimg@hotmail.com," to

include all identifving information, user contact information. and account origination information, and access location information

(i.e. logs of Internet Protocal addresses used to log in to that above referenced Hotmail email accounts).

PLACE KRONENBERGER & ASSOCIATES, DATE AND TIME
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 10:30 am, July 15, 2005

1 YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

 

 

 

PREMISES DATE AND TIME

 

 

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers,
directors. or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the
matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

 

ISSUING OFFICER'S SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE

 

 

ISSUING OFFICER'S NAME. ADDRESS AND PHONE NUMBER
Karl S. Krenenberger
KRONENBERGER & ASSOCIATES,
220 Montgomery Street, Suite 1920, San Francisco, CA 94104 Tel: 415-955-1155

(See Rule 45, Federal Rules of Cixi] Procedure, Parts C & D on next page)

If action is pending in district other than district of issuance, state district under case number.
Case 2:05-cv-00848-BES-LRL Document 2-3 Filed 07/12/05 Page 25 of 25

~— we

AO88 (Rev, 1/94) Subpoena ina Civil Case

 

PROOF OF SERVICE

 

 

 

DATE PLACE
SERVED
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRINT NAME) TITLE

 

DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Proof of Service is true and correct.

Executed on

 

 

DATE SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

 
